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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                     :
                                                             :
                                                             :      NO. 21-CR-175-3 (TJK)
               V.                                            :
                                                             :
ZACHARY REHL, DEFENDANT                                      :
                                                             :

                                                 ORDER

AND NOW, this __________ day of ________________, 2021, the Court, being advised that the

undersigned defense counsel and the defendant needs additional time to prepare, and the Court being

further advised that the Government does not object to this request, concludes that the ends of justice are

served by granting the Continuance of the Status Date.

       Therefore, pursuant to 18 U.S.C. § 3161(h)(7)(A),(B), it is hereby ordered that Defendant’s

Unopposed Motion for a Continuance is hereby GRANTED, and that the Status Hearing in this matter

shall commence on or after September 21, 2021 to be determined by the Court.

                                                     BY THE COURT:

                                                     ________________________________
                                                     HONORABLE TIMOTHY J. KELLY
                                                     Judge, United States District Court
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                     :
                                                             :
                                                             :      NO. 21-CR-175-3 (TJK)
               V.                                            :
                                                             :
ZACHARY REHL, DEFENDANT                                      :
                                                             :

      DEFENDANT ZACHARY REHL’S UNOPPOSED MOTION FOR CONTINUANCE

       COMES NOW, Defendant Zachary Rehl, by and through his attorney, Shaka M. Johnson,

Esquire, and requests a continuance of the Status date. The Government does not oppose this request.

In support of the instant motion, the defendant avers as follows:

       1. He is the defendant in the above-captioned case.

       2. A Status Hearing in this matter is presently scheduled for July 28, 2021 at 10:00 AM before

           the Honorable Timothy J. Kelly.

       3. Undersigned counsel for Zachary Rehl will not be prepared to proceed with the Status

           Hearing, as additional time is needed to confer with the Government.

       4. Undersigned counsel is in ongoing conversations with Assistant United States Attorney Luke

           Jones regarding developments in this case. It is Undersigned counsel’s belief that the matter

           can be better addressed following the conclusion of these discussions, as there are no issues

           that need to be addressed with the Court at this time, for purposes of the scheduled status

           hearing.

       5. Undersigned counsel has spoken to Assistant United States Attorney Luke Jones, and the

           Government does not object to this request.
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WHEREFORE, for the reasons set forth above, Defendant, Zachary Rehl, by and through undersigned

counsel, respectfully asks this Court to grant this Motion for a Continuance.

DATED: July 26, 2021

                                                     Respectfully submitted,

                                                     /s/ Shaka M. Johnson
                                                     Shaka M. Johnson, Esquire

                                                     Law Office of Shaka Johnson, LLC
                                                     1333 Christian Street
                                                     Philadelphia, PA 19147
                                                     (215) 732-7900
                                                     Shaka@Shakajohnsonlaw.com
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                    :
                                                            :
                                                            :       NO. 21-CR-175-3 (TJK)
               V.                                           :
                                                            :
ZACHARY REHL, DEFENDANT                                     :
                                                            :



                                    CERTIFICATE OF SERVICE

       I, Shaka M. Johnson, counsel for Zachary Rehl, hereby certify that on this 26th day of July 2021,

I caused a true and correct copy of the instant Motion for a Continuance to be served via the Court’s

electronic notification system and email upon:



                              Katrina Harris
                              Courtroom Deputy to the Honorable Timothy J. Kelly
                              U.S. District Court for the District of Columbia
                              333 Constitution Avenue, NW
                              Washington, DC 20001
                              Katrina_Harris@dcd.uscourts.g


                              Luke Jones, Esquire
                              Assistant United States Attorney
                              United States Attorney’s Office
                              555 4th St NW
                              Washington, DC 20530
                              luke.jones@usdoj.gov


                                                    /s/ Shaka M. Johnson
                                                    Shaka M. Johnson, Esquire

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                                                    Philadelphia, PA 19147
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